UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

TRANSMITTAL OF FINANCIAL REPORTS AND
CERTIFICATION OF COMPLIANCE WITH
UNITED STATES TRUSTEE OPERATING REQUIREMENTS FOR

THE PERIOD ENDED: _ March, 2024

In re: Case Number: 23-31987-jda
ELITE ROOF GROUP, LLC, Chapter 11
Debtor. Hon. Joel D. Applebaum
/
As debtor in possession, I affirm:
1. That I have reviewed the financial statements attached hereto, consisting of:
X Operating Statement (Form 2)
X _ Balance Sheet (Form 3)
Xx Summary of Operations (Form 4)
Monthly Cash Statement (Form 5)
Statement of Compensation (Form 6)
Schedule of In-Force Insurance (Form 7)

and that they have been prepared in accordance with normal and customary accounting practices,
and fairly and accurately reflect the debtor’s financial activity for the period stated;

2. That the insurance, including workers’ compensation and unemployment insurance, as described
in Section 5 of the Operating Instructions and Reporting Requirements For Chapter 11 Cases is in
effect; and, (If not, attach a written explanation) YES X NO

3. That all post-petition taxes as described in Sections 9 of the Operating Instructions and Reporting
Requirements For Chapter 11 cases are current.

(if not, attach a written explanation) YES * NO

4. No professional fees (attorney, accountant, etc.) have been paid without specific court
authorization. (If not, attach a written explanation) YES_* NO

5. All United States Trustee Quarterly fees have been paid and are current.

YES NA NO

6. Have you filed your pre-petition tax returns. x

(If not, attach a written explanation) YES NO

I hereby certify, under penalty of perjury, that the information provided above and in the attached
documents is true and correct to the best of my information and belief.

of tye eT 2024 10:50 EDT

Dated: Debtor in Possession

Title Phone
Form 1

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OPERATING STATEMENT (P&L)

Period Ending:

(see attached spreadsheet of revenues

and expenses

Case No: 23-31987-jda

Current Month
Total Revenue/Sales

Total Since Filing

Cost of Sales

GROSS PROFIT

EXPENSES:

Officer Compensation

Salary Expenses other Employees

Employee Benefits & Pensions

Payroll Taxes

Other Taxes

Rent and Lease Expense

Interest Expense

Insurance

Automobile and Truck Expense

Utilities (gas, electric, phone)

Depreciation

Travel and Entertainment

Repairs and Maintenance

Advertising

Supplies, Office Expense, etc.

Other Specify

Other Specify

TOTAL EXPENSES:

NET OPERATING PROFIT/(LOSS)

Add: Non-Operating Income:
Interest Income

Other Income

Less: Non-Operating Expenses:
Professional Fees

Other

NET INCOME/(LOSS)

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Form 2

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MARCH, 2024 PROFIT AND LOSS

TRANSACTION DESCRIPTION DEBIT
BANK FEE $15
OWNER CONTRIBUTION

APPLE -SOFTWARE $2.99
INCOME - SALES SO
HOME DEPOT $453.73
DUMPSTER FE $400
HOME DEPOT $107.27
SPEEDWAY - GAS $86.39
APPLE - SOFTWARE $15.99
GOOGLE - SOFTWARE $72.99
HOVER - SOFTWARE 585.00
APPLE - SOFTWARE $15.99
DEPOSIT - KINGSTON ROOFING

CONTRACT LABOR $8,000
BANK FEE $25
MUGGS - FUEL $104.32
MENARDS - MATERIALS $427.24
MENARDS - MATERIALS $1,522.20
BILL.COM $0.04
BILL.COM

CONTRACT LABOR $4,860
DISPOSAL FEES $44.41
GOOGLE - ADS $511.03
MENARDS - MATERIALS $232.20
INCOME - SALES

MENARDS - MATERIALS $2,527.51
BANK FEES S45
INCOME - SALES

GAS $100.01
THINK MARKETING $1,898
INDEED - SUBSCRIPTION $77.71
HOME DEPOT - MATERIALS $95.30
INCOME - SALES

CONTRACT LABOR $1,000
RENT - OFFICE $1,450
AMAZON - EQUIPMENT $1,144.79
DISPOSAL FEES $85.71

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CREDIT

$500

$1,500

$18,000

0.04

$1,800

$3,000

$4,000
DISPOSAL FEES

VISTA PRINT - BIZ CARDS
MENARDS - MATERIALS
INCOME - SALES

HOME DEPOT

BANK FEE

INCOME - SALES
CONTRACT LABOR
DISPOSAL FEES
FACEBOOK - ADS
FACEBOOK - ADS
MEALS

ABC SUPPLY - MATERIALS
CONTRACT LABOR
OWNER CONTRIBUTION
GAS

HOME DEPOT

HOME DEPOT

HOME DEPOT

INCOME - SALES
INCOME - SALES

BANK FEE

BANK FEE

CONTRACT LABOR
INCOME - SALES

BANK FEE
HOMETOWNE CAPITAL - DUMP TRAILER
INSURANCE

HOME DEPOT

GOOGLE - ADS
CONTRACT LABOR
CONTRACT LABOR
BANK FEE

OWNER CONTRIBUTION
OWNER CONTRIBUTION
BT CUSTOM - WORK SHIRTS
CORPORATE FILINGS
GOOGLE - ADS

INCOME - SALES

HOME DEPOT

HOME DEPOT

ROOFR - SOFTWARE
CONTRACT LABOR

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$44.41
$46.15
$87.42

$126.97
$25

$12,500
$188.74
$351.49
$48.54
$54.92
$2,318.58
$7,803

$108.50
$46.92
$472.78
$38.67

$25
$15
$8,300

$25
$1,030
$75.11
$8.91
$500
$5,000
$700
$45

$600
$9
$500

$189.75
$237.23
$12
$150

$19,149

$2,500

$6,500

$4,000
$3,000

$3,700

$100
$500

$10,525
CONTRACT LABOR
CONTRACT LABOR

HOME DEPOT

800.COM - PHONE

HOME DEPOT

CORPORATE FILINGS
MENARDS - MATERIALS
ROOFR - SOFTWARE
HOME DEPOT

HOME DEPOT

INCOME - SALES

GAS

CONTRACT LABOR
CONTRACT LABOR
CONTRACT LABOR

GAS

OWNER DRAW

CONTRACT LABOR
THUMBTACK - MARKETING
HOME DEPOT

OWNER CONTRIBUTION
CONTRACT LABOR

HOME DEPOT

INCOME - SALES

HOME DEPOT - REFUND
MENARDS - MATERIALS
LOWES - MATERIALS
HOME DEPOT

EXPEDIA - TRAVEL
THUMBTACK - MARKETING
ROOFR - SOFTWARE
ROOFR - SOFTWARE
THUMBTACK - MARKETING
HOME DEPOT
THUMBTACK - MARKETING
GAS

MENARDS - MATERIALS
DEPOSIT - KINGSTON ROOFING
CONTRACT LABOR

PERMIT

HOME DEPOT

GAS

MENARDS - MATERIALS

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$20
$300
$56.58
$125.73
$168.02
$9.00
$122.96
$12
$39.59
$159.93
$9,024.10
$32.19
$9,000
$1,693.00
$1,161.00
$115.84
$750
$4,900
$117.16
$480.22
$800
$700
$244.97
$4,500
$345.03
$77.36
$64.64
$141.69
$309.17
$94.12
$12
$12
$91.08
$345.03
$62.78
$105.02
$598.21
$28,000
$8,314
$150
$170.85
$50
$828.54

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CONTRACT LABOR
INTERNET
INSURANCE

OWNER DRAW

GAS

CONTRACT LABOR
HOME DEPOT

MEALS

HOME DEPOT
EXPEDIA - TRAVEL
USPS - POSTAGE
INCOME - SALES
MENARDS - MATERIALS
ROOFR - SOFTWARE
GOOGLE - ADS
PERMIT

INCOME - SALES
RENT - OFFICE
INSURANCE

INCOME - SALES
CONTRACT LABOR
CONTRACT LABOR
CONTRACT LABOR
CONTRACT LABOR
EXPEDIA - TRAVEL
ROOFR - SOFTWARE
CONSUMERS - ELECTRIC
ROOFR - SOFTWARE
INCOME - SALES
CONTRACT LABOR
CONTRACT LABOR
WAYFAIR - MATERIALS
CONTRACT LABOR
CONTRACT LABOR
GAS

ROOFR - REFUND
GAS

DISPOSAL FEES
GOOGLE - SOFTWARE
GAS

HOME DEPOT
STORAGE UNIT -RENT
GAS

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$500
$546.97
$657.56
$300
$79.67
$3,900
$87.28
$37.06
$44.15
$81.41
$30.45

$978.99
$300
$500
$52

$1,350
$10,662.48

$14,756
$1,968
$3,000
$4,000
$621.67
$12
$255.68
$12

$913
$830
$993.22
$2,500
$10,000
$90.48

$133.97
$318
$129.60
$70.06
$93.23
$530
$90.59

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$23.658.52

$10,950

$5,927

$18,200

$165.25
PRINTING
INSURANCE
OWNER DRAW
CONTRACT LABOR
CONTRACT LABOR
EXPEDIA - TRAVEL
ROOFR - SOFTWARE
GAS

ROOFR
CONTRACT LABOR
EXPEDIA - TRAVEL
CONTRACT LABOR
BANK FEE
CONTRACT LABOR
GAS

JOB NIMBUS - CRM -SOFTWARE

CONTRACT LABOR
DUMPSTER FE

OWNER CONTRIBUTION
BANK FEE

CONTRACT LABOR
OWNER CONTRIBUTION
APPLE - SOFTWARE
REGISTRATION - TAGS
FACEBOOK - ADS

HOME DEPOT

GOOGLE - ADS

HOME DEPOT

ROCKET LAWYER - SOFTWARE
OWNER CONTRIBUTION
INCOME - SALES
INSURANCE - OHIO
CONTRACT LABOR
CONTRACT LABOR
HOME DEPOT
MATERIALS

CONTRACT LABOR
CONTRACT LABOR
INCOME - SALES
CONTRACT LABOR
CONTRACT LABOR
CONTRACT LABOR

GAS

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$38.16
$2,400
$6,000
$3,000
$217
$362
$12
$86.53
$12
$1,455
$881.67
$710
$15
$700
$102.76
$479
$658
$525
$2,000
$25
$1,478
$1,000
$2.99
$94.70
$900.32
$54.20
$500
$254.04
$5
$1,000
$7,338
$1,359.50
$875
$1,165
$22.30
$227.36
$682
$1,271
$29,950
$620
$550
$2,500
$100

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CONTRACT LABOR $7,500

OWNER CONTRIBUTION $5,000
CONTRACT LABOR $2,500
HOME DEPOT $76.77
GAS $58.88
PHONES $829.60
MENARDS - MATERIALS $235.15
HOME DEPOT $140.13
HOME DEPOT $328.36
MODERNIZE - LEADS $660
EXPEDIA - TRAVEL $884.58
TOTALS $203, 704 $228,122.53
NET PROFIT 24,418.53

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BALANCE SHEET

Period Ending:

Case No: 23-31987-jda

Current Month
ASSETS:

Cash:
Inventory:

Prior Month At Filing

Accounts Receivables:

Insider Receivables

Land and Buildings:

Furniture, Fixtures & Equip:

Accumulated Depreciation:

Other:

Other:

TOTAL ASSETS:

LIABILITIES:
Post-petition Liabilities:

Accounts Payable:

Rent and Lease Payable:

Wages and Salaries:

Taxes Payable:

Other:

TOTAL Post-petition Liabilities

Secured Liabilities:

Subject to Post-petition

Collateral or Financing Order

All Other Secured Liabilities

TOTAL Secured Liabilities

Pre-petition Liabilities:

Taxes & Other Priority Liabilities

Unsecured Liabilities:

Other:

TOTAL Pre-petition Liabilities

Equity:

Owners Capital:

Retained Earnings-Pre Petition.

Retained Earnings-Post Petition.

TOTAL Equity:

TOTAL LIABILITIES

/AND EQUITY

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Form 3

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SUMMARY OF OPERATIONS
Period Ended:

Case No: 23-31987-jda

Schedule of Post-Petition Taxes Payable

Beginning Balance Accrued/ Withheld Payments/Deposits Ending Balance

Income Taxes Withheld:
Federal:

State: 9

Local:

FICA Withheld:

Employers FICA:

Unemployment Tax:
Federal:

State:

Sales, Use & Excise
Taxes:

Property Taxes: 0

Workers’ Compensation

Other:
TOTALS:
AGING OF ACCOUNTS RECEIVABLE
AND POST-PETITION ACCOUNTS PAYABLE
Age in Days 0-30 30-60 Over 60

Post Petition

Accounts Payable

Accounts Receivable

For all post-petition accounts payable over 30 days old, please attach a sheet listing each such account, to whom the
account is owed, the date the account was opened, and the reason for non-payment of the account.

Describe events or factors occurring during this reporting period materially affecting operations and
formulation of a Plan of Reorganization:

Form 4

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MONTHLY CASH STATEMENT
Period Ending:

Cash Activity Analysis (Cash Basis Only): Case No: 23-31987-jda
General Payroll Tax Cash Coll, Petty Cash
Acct. Acct. Acct. Acct Acct.

A. Beginning Balance

B. Receipts

(Attach separate schedule)

C. Balance Available
(A+B)

D. Less Disbursements

(Attach separate schedule)

E, ENDING BALANCE
(C-D)

ATTENTION: Please enter the TOTAL DISBURSEMENT from all your accounts, including cash and
excluding transfers, onto the line below. This is the number that will determine your quarterly fee

payment. $

(PLEASE ATTACH COPIES OF MOST RECENT RECONCILED BANK STATEMENTS FROM EACH ACCOUNT)
General Account:

1. Depository Name & Location

2. Account Number

Payroll Account:

1. Depository Name & Location

2. Account Number

Tax Account:

1. Depository Name & Location

2. Account Number

Other monies on hand (specify type and location) i.e., CD’s, bonds, etc.):

Date:

Debtor in Possession
Form 5

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MONTHLY STATEMENT OF INSIDER COMPENSATION/PAYMENTS

Period Ending:

Case No: 23-31987-jda

The following information is to be provided for each shareholder, officer, director, manager,

insider, or owner that is employed by the debtor in possession. (Attach additional pages if necessary.)
Name:___ Matthew Camargo

Capacity: _x Shareholder
Officer
Director
insider

in charge of all operations
Detailed Description of Duties: 6 P

Current Compensation Paid: Weekly or Monthl
6,750.00
Current Benefits Paid: Weekly or Monthly

Health Insurance
Life Insurance
Retirement
Company Vehicle
Entertainment
Travel

Other Benefits
Total Benefits

Current Other Payments Paid: Weekly or Monthly

Rent Paid

Loans

Other (Describe)
Other (Describe)
Other (Describe)
Total Other Payments

CURRENT TOTAL OF ALL PAYMENTS: Weekly or Monthly

Dated:

Principal, Officer, Director, or Insider

Form 6

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SCHEDULE OF IN-FORCE INSURANCE

Period Ending:

Case No: 23-31987-jda

INSURANCE TYPE CARRIER EXPIRATION DATE
i 6-14-24
Workers’ Compensation Accident Fund
Admiral 6-14-24
General Business Policy
Commercial Auto Auto Owners 6-15-24

Form 7

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6065 Grand Pointe Blvd
Grand Blanc, MI 48439

(810) 715-3542 a
(800) 882-6457 Statement Period: 03/01/2024 to 03/31/2024

QD he www.ELGACU.com Page 1 of 9

TEMP-RETURN SERVICE REQUESTED : : : : oe 4 :
Add your ))

ELITE ROOF GROUP LLC DEBTOR IN POSSESSIO el ‘ad t > Iz
MATTHEW N CAMARGO card to your
7249 PONDEROSA DR

SWARTZ GREEK MI 48473-9426 | mobile wallet!
| @Pay SPay snmsune pay

Member Statement

PNA Ghee

Shares Beginning Balance Total Withdrawals Total Deposits Ending Balance
0001 BUSINESS MEMBERSHIP SHARE 5.00 0.00 0.03 5.03
0050 BUSINESS CHECKING -92.26 -204,687.04 228,123.13 23,343.83
0051 PAYROLL BUSINESS CHECKING 0.00 -2,500.00 2,500.00 0.00

TMA N Sst alsa Gl

Date Transaction Description Withdrawal Deposit Balance
03/01/2024 Balance Forward 5.00
03/31/2024 Deposit Dividend 0.03 5.03
Annual Percentage Yield Earned 0.080% from 01/02/2024
through 03/31/2024
03/31/2024 Ending Balance 5.03

0 Withdrawal(s) = 0.00 1 Deposit(s) = 0.03
(PEE Nissexe sede 2

Date Transaction Description Withdrawal Deposit Balance

03/01/2024 Balance Forward -92.26

03/01/2024 Withdrawal NSF FEE 1046 -15.00 -107.26
In the amount $600.00.

03/01/2024 Deposit at ATM #108266 500.00 392.74
ELGA_CREDIT_UNION 5072 Corunna Road Flint MI 906010

03/01/2024 Recurring Withdrawal Debit Card VISA CHECK CARD -2.99 389.75
APPLE.COM/BILL 866-712-7753 CA

03/02/2024 Deposit at ATM #108628 1,500.00 1,889.75
ELGA_CREDIT_UNION 5072 Corunna Road Flint MI 906010

03/03/2024 Withdrawal POS #402301 -453.73 1,436.02

NT A ae OR oe aL fe = AS
Pa Ref WC Wiclm relied

oS.

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Qian

Date Transaction Description Withdrawal
THE HOME DEPOT #2741 15255 SILVER PARKWAY FENTON MI

03/03/2024 Withdrawal at ATM #004264 -400.00
GENISYS CU 15405 SILVER PARKWAY FENTON MI CKH3611

03/03/2024 Withdrawal POS #120001 -107.27
THE HOME DEPOT #2741 15255 SILVER PARKWAY FENTON MI

03/03/2024 Withdrawal Debit Card VISA CHECK CARD -86.39
Speedway 1020 Irish Rd Davison MI

03/03/2024 Withdrawal Debit Card VISA CHECK CARD -15.99
APPLE.COM/BILL 866-712-7753 CA

03/03/2024 Recurring Withdrawal Debit Card VISA CHECK CARD -72.99
GOOGLE *YouTube TV g.co/helppay# CA

03/03/2024 Withdrawal Debit Card VISA CHECK CARD -85.00
HOVER JOB 11405655 HTTPSWWW.HOVE CA

03/03/2024 Recurring Withdrawal Debit Card VISA CHECK CARD -15.89

APPLE.COM/BILL 866-712-7753 CA
03/04/2024 Deposit Wire 0000044136

03/04/2024 Withdrawal -25.00

03/04/2024 Withdrawal Wire 0000044141 ~8,000.00

03/04/2024 Withdrawal Debit Card VISA CHECK CARD -104,.32
MUGG & BOPPS 17 11055 HIGHLAND ROAD HARTLA

03/04/2024 Withdrawal Debit Card VISA CHECK CARD -427.24
MNRD-DAVISON 7410 E. C DAVISON MI

03/04/2024 Draft 52 -1,522.20

03/05/2024 Deposit ACH Bill.com
TYPE: ACCTVERIFY ID: 2204895317 CO: Bill.com

03/05/2024 Withdrawal ACH Bill.com -0.04
TYPE: ACCTVERIFY ID: 2204895317 CO: Bill.com

03/05/2024 Withdrawal by Check -4,860.00

03/05/2024 Withdrawal Debit Card VISA CHECK CARD -44.41
CITIZEN DISPOSAL GRAND BLANC MI

03/05/2024 Recurring Withdrawal Debit Card VISA CHECK CARD -511.03
Google ADS6214060339 650-2530000 CA

03/05/2024 Withdrawal Debit Card VISA CHECK CARD -232.20

MNRD-DAVISON 7410 E. C DAVISON MI
03/05/2024 Deposit

03/05/2024. Draft 108 -2,527.51

03/06/2024 Withdrawal NSF FEE 1031 -15.00
in the amount $800.00.

03/06/2024 Withdrawal NSF FEE 1036 ~-15.00
In the amount $1,500.00.

03/06/2024 Withdrawal NSF FEE 1049 -15.00

In the amount $3,950.00.
03/06/2024 Deposit

03/06/2024 Withdrawal Debit Card VISA CHECK CARD -100.01
BEACON AND BRIDGE MRKT 1 4514 W GRAND BLAN

03/06/2024 Withdrawal Debit Card VISA CHECK CARD -1,898.00
IN *THINK MARKETING AN 989-3304431 MI :

03/06/2024 Withdrawal Debit Card VISA CHECK CARD “77.74
Indeed 89698095 800-4625842 TX

03/06/2024 Withdrawal Debit Card VISA CHECK CARD -95.30

THE HOME DEPOT #2741 FENTON MI
03/06/2024 Deposit

03/06/2024 Draft 1032 -1,000.00

03/06/2024 Draft 1053 -1,450.00

03/07/2024 Withdrawal Debit Card VISA CHECK CARD -1,144.79
AMAZON.COM*R649K7460 SEATTLE WA

03/07/2024 Withdrawal Debit Card VISA CHECK CARD -85.71
CITIZEN DISPOSAL GRAND BLANC MI

03/07/2024 Withdrawal Debit Card VISA CHECK CARD 44,41

CITIZEN DISPOSAL GRAND BLANC MI

Deposit

18,000.00

0.04

1,800.00

3,000.00

4,000.00

a
Statement Period: 03/01/2024 to 03/31/2024

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Balance

1,036.02
928.75
842.36
826.37
753.38
668.38
652.49

18,652.49
18,627.49
10,627.49
10,523.17
10,095.93

8,573.73
8,573.77

8,573.73

3,713.73
3,669.32

3,158.29
2,926.09
4,726.09
2,198.58
2,183.58
2,168.58
2,153.58

5,153.58
5,053.57

3,155.57
3,077.86
2,982.56
6,982.56
5,982.56
4,532.56
3,387.77
3,302.06

3,257.65

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a
Statement Period: 03/01/2024 to 03/31/2024
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Date Transaction Description Withdrawal Deposit Balance
03/07/2024 Withdrawal Debit Card VISA CHECK CARD -46.15 3,211.50
VISTAPRINT 866-207-4955 MA
03/07/2024 Withdrawal Debit Card VISA CHECK CARD -87.42 3,124.08
MNRD-DAVISON 7410 E. C DAVISON MI
03/08/2024 Deposit ACH ERIE CONSTRUCTIO 19,149.00 22,273.08
TYPE: PAYABLES ID: 9789997001 CO: ERIE CONSTRUCTIO
03/08/2024 Withdrawal POS #444801 -126.97 22,146.11
THE HOME DEPOT #2763 1222 WEST HILL RD FLINT MI
03/08/2024 Withdrawal -25.00 22,121.11
03/08/2024 Deposit 2,500.00 24,621.11
03/08/2024 Withdrawal Wire 0000044263 -12,500.00 12,121.11
03/08/2024 Withdrawal Debit Card VISA CHECK CARD ~188.74 11,932.37
CITIZEN DISPOSAL GRAND BLANC MI
03/08/2024 Withdrawal Debit Card VISA CHECK CARD -351.49 11,580.88
FACEBK EYNK3YKRA2 650-5434800 CA
03/08/2024 Withdrawal Debit Card VISA CHECK CARD -48.54 11,532.34
FACEBK RKNJAX7RA2 650-5434800 CA
03/08/2024 Withdrawal Debit Card VISA CHECK CARD -54.92 11,477.42
HILL ROAD GRILLE FLINT MI
03/08/2024 Withdrawal Debit Card VISA CHECK CARD -2,318.58 9,158.84
ABC SUPPLY CO BRANCH 5 DETROIT MI
03/08/2024 Withdrawal by Check -7,803.00 1,355.84
03/09/2024 Deposit Transfer 6,500.00 7,855.84
From CAMARGO,MATTHEW XXXXXXXXXX Share 0050
03/09/2024 Withdrawal Debit Card VISA CHECK CARD -108.50 7,747.34
BEACON AND BRIDGE MRKT 1 4514 W GRAND BLAN
03/10/2024 Withdrawal Debit Card VISA CHECK CARD -46.92 7,700.42
THE HOME DEPOT #2741 FENTON MI
03/10/2024 Withdrawal Debit Card VISA CHECK CARD -472.78 7,227.64
THE HOME DEPOT #2741 FENTON MI
03/10/2024 Withdrawal Debit Card VISA CHECK CARD -38.67 7,188.97
THE HOME DEPOT #2741 FENTON MI
03/11/2024 Deposit 4,000.00 11,188.97
03/11/2024 Withdrawal -25.00 11,163.97
03/11/2024 Deposit 3,000.00 14,163.97
03/11/2024 Withdrawal NSF FEE 1 -15.00 14,148.97
In the amount $6,251.47.
03/11/2024 Withdrawal Wire 0000044298 -8,300.00 5,848.97
03/11/2024 Deposit 3,700.00 9,548.97
03/11/2024 Withdrawal -25.00 9,523.97
03/11/2024 Withdrawal Debit Card VISA CHECK CARD -1,030.00 8,493.97
HOMETOWNE CAPITAL 615-8009992 TN
03/11/2024 Withdrawal Bill Payment #699489 -75.14 8,418.86
PROGRESSIVE *INSURANCE 800-776-4737 OH
03/11/2024 Withdrawal Debit Card VISA CHECK CARD -8.91 8,409.95
THE HOME DEPOT #2763 FLINT MI
03/11/2024 Recurring Withdrawal Debit Card VISA CHECK CARD -500.00 7,909.95
Google ADS9962913600 650-2530000 CA
03/11/2024 Withdrawal Wire 0000044314 -5,000.00 2,909.95
03/11/2024 Draft 1059 -700.00 2,209.95
03/12/2024 Withdrawal NSF Fee -15.00 2,194.95
In the amount $471.77 CARMAX AUTO FINA
03/12/2024 Withdrawal NSF Fee -15.00 2,179.95
In the amount $1,875.52 AUTO OWNERS INS
03/12/2024 Withdrawal NSF Fee -15.00 2,164.95
In the amount $5,271.87 IPFS866-412-2431
03/12/2024 Deposit Debit Card 100.00 2,264.95
ZEL* VERONICA CAMPANARO Visa Direct AZ Date 03/12/24
407213714410 6012
03/12/2024 Deposit Transfer 500.00 2,764.95
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Transaction Description

From CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13166987]

Withdrawal Debit Card VISA CHECK CARD

BT CUSTOM EMBROI 3209 FLINT MI

Withdrawal Debit Card VISA CHECK CARD

CORPORATE FILINGS LLC 888-7898466 WY

Withdrawal Debit Card VISA CHECK CARD
GOOGLE*ADS9962913600 CC GOOGLE.COM CA

Deposit by Check

Withdrawal Debit Card VISA CHECK CARD

THE HOME DEPOT #2741 FENTON MI

Withdrawal Debit Card VISA CHECK CARD

THE HOME DEPOT #2741 FENTON MI

Withdrawal Bill Payment #587735

ROOFR INC, ROOFR.COM CA

Withdrawal Debit Card VISA CHECK CARD

ZEL*VERONICA CAMPANARO Visa Direct AZ

Withdrawal Debit Card VISA CHECK CARD

ZEL*VERONICA CAMPANARO Visa Direct AZ

Withdrawal Debit Card VISA CHECK CARD

ZEL*CELIO LOPEZ Visa Direct AZ

Withdrawal POS #931901

THE HOME DEPOT #2741 15255 SILVER PARKWAY FENTON MI
Withdrawal Debit Card VISA CHECK CARD

800.COM, LLC 800-800-4321 FL.

Withdrawal Debit Card VISA CHECK CARD

THE HOME DEPOT #2741 FENTON MI

Withdrawal Debit Card VISA CHECK CARD

CORPORATE FILINGS LLC 888-7898466 WY

Withdrawal Debit Card VISA CHECK CARD
MNRD-DAVISON 7410 E. C DAVISON MI

Withdrawal Bill Payment #696548

ROOFR INC. ROOFR.COM CA

Withdrawal Debit Card VISA CHECK CARD

THE HOME DEPOT #2741 FENTON MI

Withdrawal POS #526001

THE HOME DEPOT #2716 4380 W CORUNNA RD FLINT MI
Deposit ACH ERIE CONSTRUCTIO

TYPE: PAYABLES ID: 9789997001 CO: ERIE CONSTRUCTIO
Withdrawal Debit Card VISA CHECK CARD

BEACON AND BRIDGE MRKT 1 4514 W GRAND BLAN
Withdrawal

Withdrawal by Check

Withdrawal by Check

Withdrawal Debit Card VISA CHECK CARD
BP#1925000CHILLBOX 9025 27730 ORCHARD LAKE
Withdrawal Transfer

To CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13210717]

Withdrawal

Withdrawal Debit Card VISA CHECK CARD

THUMBTACK 3473684486 THUMBTACK.COM CA
Withdrawal Debit Card VISA CHECK CARD
HOMEDEPOT.COM 800-430-3376 GA

Deposit Transfer

From CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13212676]

Draft 1062

Onus Draft

Deposit Transfer

a
Statement Period: 03/01/2024 to 03/31/2024

Withdrawal

-600.00
-9.00

-500.00

-189.75
~237.23
-12.00
-150.00
-20.00
-300.00
-56.58
-125.73
-168.02
-9.00
-122.96
-12.00
-39.59

-159.93

-32.19
-9,000.00
-1,693.00
-1,161.00

-115.84
-750.00
-4,900.00
-117.16

-480.22

-700.00

Deposit

10,525.00

9,024.10

100.00

400.00

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Balance

2,164.95
2,155.95
1,655.95

12,180.95
11,991.20

11,753.97
11,741.97
11,591.97
11,571.97
11,271.97
11,215.39
11,089.66
10,921.64
10,912.64
10,789.68
10,777.68
10,738.09
10,578.16
19,602.26
19,570.07
10,570.07
8,877.07
7,716.07
7,600.23
6,850.23
1,950.23
1,833.07
1,352.85

1,452.85

752.85

1,152.85

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Transaction Description

From CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13212929]

Deposit Transfer

From CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13215631]

Withdrawal POS #104901

THE HOME DEPOT #2763 1222 WEST HILL RD FLINT MI
Deposit

Withdrawal Adjustment Debit Card Credit Voucher

THE HOME DEPOT 2721 YPSILANTI MI

Withdrawal Debit Card VISA CHECK CARD
MNRD-DAVISON 7410 E. C DAVISON MI

Withdrawal Debit Card VISA CHECK CARD

LOWE'S #2570 NEW HUDSON MI

Withdrawal Debit Card VISA CHECK CARD

THE HOME DEPOT #2741 FENTON MI

Withdrawal Debit Card VISA CHECK CARD

EXPEDIA 72782710084020 EXPEDIA.COM WA
Withdrawal Debit Card VISA CHECK CARD
THUMBTACK 3473684486 THUMBTACK.COM CA
Withdrawal Bill Payment #488348

ROOFR INC. ROOFR.COM CA

Withdrawal Bill Payment #511156

ROOFR INC. ROOFR.COM CA

Withdrawal Debit Card VISA CHECK CARD
THUMBTACK 3473684486 THUMBTACK.COM CA
Withdrawal Debit Card VISA CHECK CARD

THE HOME DEPOT #2721 YPSILANTI MI

Withdrawal Debit Card VISA CHECK CARD
THUMBTACK 3473684486 THUMBTACK.COM CA
Withdrawal Debit Card VISA CHECK CARD

BEACON AND BRIDGE MRKT 1 4514 W GRAND BLAN
Draft 103

Deposit by Check

Withdrawal by Check

Withdrawal Debit Card VISA CHECK CARD

MI PERMIT LIC PLAN REV 517-2419313 MI

Withdrawal Debit Card VISA CHECK CARD

THE HOME DEPOT #2702 WARREN MI

Withdrawal Debit Card VISA CHECK CARD

BEACON AND BRIDGE MRKT 1 4514 W GRAND BLAN
Draft 1060

Withdrawal Debit Card VISA CHECK CARD
ZEL*KASIMER RODGERS Visa Direct AZ

Withdrawal Bill Payment #607231

COMCAST 800-934-6489 MI

Withdrawal Bill Payment #673280

PROGRESSIVE INS 855-758-0945 OH

Withdrawal at ATM #101901

ELGA_CREDIT_UNION 5072 Corunna Road Flint MI 906010
Withdrawal Debit Card VISA CHECK CARD

BEACON AND BRIDGE MRKT 1 4514 W GRAND BLAN
Withdrawal by Check

Withdrawal POS #445501

THE HOME DEPOT #2763 1222 WEST HILL RD FLINT MI
Withdrawal Debit Card VISA CHECK CARD

LITTLE CAESARS 3454-00 810-635-2997 MI
Withdrawal Debit Card VISA CHECK CARD

THE HOME DEPOT #2741 FENTON MI

Withdrawal Debit Card VISA CHECK CARD

a
Statement Period: 03/01/2024 to 03/31/2024

Withdrawal

-244,97

$345.03
-77.36
-64.64
-141.69
-309.17
-94.12
-12.00
~12.00
-91.08
-345.03
-62.78
-105.02
-598.21

-8,314.00
-150.00

-170.85
-50.00

-828.54
-500.00

-546.97
-657.56
-300.00

-79.67

~3,900.00
-87.28

-37.06
-44,15

-81.41

Deposit

300.00

4,500.00

28,000.00

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Balance

1,452.85

1,207.88

5,707.88
6,052.91

5,975.55
5,910.91
5,769.22
5,460.05
5,365.93
5,353.93
§,341.93
5,250.85
4,905.82
4,843.04
4,738.02
4,139.81
32,139.81
23,825.81
23,675.81
23,504.96
23,454.96

22,626.42
22,126.42

21,579.45
20,921.89
20,621.89
20,542.22

16,642.22
16,554.94

16,517.88
16,473.73

16,392.32

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Transaction Description

EXPEDIA 72785811716665 EXPEDIA.COM WA
Withdrawal POS #015917

USPS PO 2532970528 2500 S LINDEN RD FLINT MI
Deposit by Check

Withdrawal! Debit Card VISA CHECK CARD
MENARDS IOWA CITY IA 715-876-6378 IA
Recurring Withdrawal Bill Payment #992741

ROOFR INC. ROOFR.COM CA

Recurring Withdrawal Debit Card VISA CHECK CARD
Google ADS621 4060339 650-2530000 CA
Withdrawal Debit Card VISA CHECK CARD
LIVINGSTON COUNTY BUIL 888-8916064 MI
Deposit ACH MerchPayout SV95

TYPE: 8662240369 ID: 1043575881 DATA: 2632631263124 CO:

MerchPayout SV95

Draft 1028

Draft 1054

Deposit ACH ERIE CONSTRUCTIO

TYPE: PAYABLES ID: 9789997001 CO: ERIE CONSTRUCTIO
Withdrawal by Check

Withdrawal by Check

Withdrawal

Draft 1056

OnUs Draft

Withdrawal! Debit Card VISA CHECK CARD
EXPEDIA 72787508952803 EXPEDIA.COM WA
Withdrawal Bill Payment #965231

ROOFR INC. ROOFR.COM CA

Withdrawal Bill Payment #178239

CONSUMER ENERGY 800-477-5050 MI
Withdrawal Bill Payment #994417

ROOFR INC. ROOFR.COM CA

Deposit Wire 0000044645

Draft 1075

OnUs Draft

Draft 1074

OnUs Draft

Withdrawal Debit Card VISA CHECK CARD

WF *WAYFAIR4237087213 BOSTON MA

Draft 1065

Draft 1083

OnUs Draft

Withdrawal Debit Card VISA CHECK CARD
Ameristop 2790 STRUBLE ROAD US CINCINNATI
Recurring Withdrawal Adjustment Debit Card Credit Voucher
ROOFR INC. ROOFR.COM CA

Withdrawal Debit Card VISA CHECK CARD
MOBIL. 1 FLINT HILL 810-239-8150 MI
Withdrawal Debit Card VISA CHECK CARD

IN *EXTERIOR PROPERTY 304-9166117 WV
Recurring Withdrawal Debit Card VISA CHECK CARD
Google Domains 650-2530000 CA

Withdrawal Debit Card VISA CHECK CARD
CIRCLE K 05292 CINCINNATI OH

Withdrawal Debit Card VISA CHECK CARD
THE HOME DEPOT #2741 FENTON MI
Withdrawal Debit Card VISA CHECK CARD

PY *4U Storage LLC 810-2871987 MI
Withdrawal Debit Card VISA CHECK CARD
BEACON AND BRI SWARTZ CREEK MI

Statement Period: 03/01/2024 to 03/31/2024

Withdrawal

-30.45

-978.99
~300.00
-600.00

-§2.00

-1,350.00
-10,662.48

-14,756.00
-1,968.00
-3,000.00
-4,000.00

~621.67
-12.00
-255.68

-12.00

-913.00
-830.00
-993.22

-2,500.00
-10,000.00

-90.48
$165.25
-133.97
-318.00
~129.60

~70.06

-93.23
-§30.00

-90.59

Deposit

23,658.52

10,950.60

5,927.00

18,200.00

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Balance

16,361.87

40,020.39
39,041.40

38,741.40
38,241.40
38,189.40
49,140.00
47,790.00
37,127.52
43,054.52
28,298.52
26,330.52
23,330.52
19,330.52
18,708.85
18,696.85
18,441.17
18,429.17

36,629.17
35,716.17

34,886.17
33,892.95

31,992.95
21,392.95

21,302.47
21,467.72
21,333.75
21,015.75
20,886.15
20,816.09
20,722.86
20,192.86

20,102.27

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Transaction Description

Withdrawal Debit Card VISA CHECK CARD
BURTON IMAGING & GRAPH 810-733-1300 MI
Withdrawal ACH PROG MICHIGAN

TYPE: INS PREM ID: 9409348112 DATA: BRANCH43DEBIT ACH

CO: PROG MICHIGAN NAME: MATTHEW N CAMARGO
Withdrawal Transfer

To CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13310809]

Draft 1067

Draft 1078

Withdrawal Debit Card VISA CHECK CARD
STAYBRIDGE SUITES - Cl WEST CHESTER OH
Withdrawal Bill Payment #365442

ROOFR INC. ROOFR.COM CA

Withdrawal Debit Card VISA CHECK CARD

CIRCLE K # 03641 OOLTEWAH TN

Withdrawal Bill Payment #807784

ROOFR INC. ROOFR.COM CA

Draft 1077

OnUs Draft

Withdrawal Debit Card VISA CHECK CARD

SQ *SUITES AT FISHERMEN'S SQUARE PURCHASE
Draft 1076

Withdrawal NSF FEE 1063

In the amount $12,450.00.

Draft 1073

Withdrawal Debit Card VISA CHECK CARD

EXXON FAST TRACK #404 JASPER FL

Withdrawal Debit Card VISA CHECK CARD
JOBNIMBUS.COM 801-361-8008 UT

Draft 1068

Draft 1071

Deposit Transfer

From CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13332936]

Withdrawal Debit Card VISA CHECK CARD
HAMPTON INNS 423-7645107 TN

Withdrawal Debit Card VISA CHECK CARD

ZEL*JODI ALDRICH Visa Direct AZ

Withdrawal Debit Card VISA CHECK CARD

THE HOME DEPOT #2741 FENTON MI

Withdrawal Bill Payment #581366

ROOFR INC. ROOFR.COM CA

Withdrawal Debit Card VISA CHECK CARD
RACETRAC 95 PORT CHARLOTT FL

Draft 1069

Deposit Transfer

From CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13343536]

Withdrawal

WIRE FEE

Withdrawal Wire 0000044747

Deposit Transfer

From CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13346268]

Recurring Withdrawal Bill Payment #755870

APPLE COM BILL CUPERTINO CA

Withdrawal Debit Card VISA CHECK CARD

PMT*FL LICENSE T 18500 PORT CHARLOTT FL
Recurring Withdrawal Debit Card VISA CHECK CARD

Withdrawal

-38.16

~2,400.40

~6,000.00

-3,000.00
-217.00
-316.76

-12.00
-86.53
-12.00

-1,455.00

-881.67

-710.00
-15.00

-700.00
-102.76

-479.00

-658.00
-625.00

~151.25
-500.00
-169.98

~12.00
-104.92

-600.00

-25.00

-1,478.00

-2.99
-94.70

-900.32

Deposit

2,000.00

2,000.00

1,000.00

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Statement Period: 03/01/2024 to 03/31/2024
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Balance
20,064.11

17,663.71

11,663.71

8,663.71
8,446.71
8,129.95
8,117.95
8,031.42
8,019.42
6,564.42
5,682.75

4,972.75
4,957.75

4,257.75
4,154.99

3,675.99
3,017.99
2,492.99
4,492.99
4,341.74
3,841.74
3,671.76
3,659.76
3,554.84
2,954.84
4,954.84
4,929.84
3,451.84
4,451.84
4,448.85
4,354.15

3,453.83

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Date Transaction Description Withdrawal Deposit Balance

FACEBK 3S3DLYTRA2 650-5434800 CA

03/28/2024 Withdrawal Debit Card VISA CHECK CARD -54.20 3,399.63
THE HOME DEPOT #2741 FENTON MI

03/28/2024 Recurring Withdrawal Debit Card VISA CHECK CARD -500.00 2,899.63
Google ADS6214060339 650-2530000 CA

03/28/2024 Withdrawal Debit Card VISA CHECK CARD -254,04 2,645.59
THE HOME DEPOT #2741 FENTON Ml

03/28/2024 Recurring Withdrawal Debit Card VISA CHECK CARD -5.00 2,640.59
ROCKETLAW 877-757-1550 WWW.ROCKETLAW CA

03/28/2024 Deposit Transfer 1,000.00 3,640.59
From CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13349569]

03/29/2024 Deposit ACH ERIE CONSTRUCTIO 7,338.00 10,978.59
TYPE: PAYABLES !D: 9789997001 CO: ERIE CONSTRUCTIO

03/29/2024 Withdrawal ACH OHIO BWC -1,359.50 9,619.09
TYPE: PAYMENT ID: 3311334187 DATA: OHIO BWC PREMIUM
CO: OHIO BWC

03/29/2024 Draft 1084 -875.00 8,744.09
OnuUs Draft

03/29/2024 Withdrawal Transfer ~1,165.00 7,579.09
To CAMPANARO,JACOB XXXXXXXXXX Share 0050 Home
Banking[13365257]

03/29/2024 Withdrawal Debit Card VISA CHECK CARD -22.30 7,556.79
THE HOME DEPOT #2741 FENTON MI

03/29/2024 Withdrawal Bill Payment #713807 -227.36 7,329.43
SP GREAT LAKES RENTAL 989-6277470 Ml

03/29/2024 Draft 1087 -682.00 6,647.43
OnUs Draft

03/29/2024 Draft 1085 -1,271.00 5,376.43
OnUs Draft

03/29/2024 Deposit ACH MerchPayout SV96 29,950.00 35,326.43
TYPE: 8662240369 ID: 1043575881 DATA: 2682775671520 CO:
MerchPayout SV96

03/29/2024 Draft 1088 -620.00 34,706.43
OnUs Draft

03/29/2024 Draft 1070 -550.00 34,156.43

03/30/2024 Withdrawal Transfer -2,500.00 31,656.43
To CAMPANARO,JACOB XXXXXXXXXX Share 0050 Home
Banking[13372828]

03/30/2024 Withdrawal Debit Card VISA CHECK CARD -100.00 31,556.43
WAWA 5139 5702 W WATERS AVE TAMPA FL

03/30/2024 Withdrawal Transfer Payroll -2,500.00 29,056.43
To CAMPANARO,JACOB XXXXXXXXXX Share 0050

03/30/2024 Withdrawal Transfer -2,500.00 26,556.43
To CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13373493]

03/30/2024 Withdrawal Transfer To Share 0051 -2,500.00 24,056.43
Payroll

03/30/2024 Deposit Transfer 2,500.00 26,556.43
From CAMARGO,MATTHEW XXXXXXXXXX Share 0050 Home
Banking[13373609]

03/30/2024 Deposit Transfer From Share 0051 2,500.00 29,056.43
Home Banking[1337361 1]

03/30/2024 Withdrawal Transfer -2,500.00 26,556.43
To CAMPANARO,JACOB XXXXXXXXXX Share 0050 Home
Banking[13373882]

03/30/2024 Withdrawal POS #668701 -76.77 26,479.66
THE HOME DEPOT #6332 70 NORTH SUNCOAST BLVD
CRYSTAL RIVER FL

03/31/2024 Withdrawal Debit Card VISA CHECK CARD -58.88 26,420.78

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Statement Period: 03/01/2024 to 03/31/2024
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Date Transaction Description Withdrawal Deposit Balance
JP Travel 2781 Georgia 16 US Jackson GA

03/31/2024 Recurring Withdrawal Bill Payment #362366 -829.60 25,591.18
ATT* BILL PAYMENT 800-331-0500 TX

03/31/2024 Withdrawal Debit Card VISA CHECK CARD -235.15 25,356.03
MENARDS DAVISON MI 715-876-6378 MI

03/31/2024 Withdrawal Debit Card VISA CHECK CARD -140.13 25,215.90
THE HOME DEPOT #2741 FENTON MI

03/31/2024 Withdrawal Debit Card VISA CHECK CARD -328.36 24,887.54
THE HOME DEPOT #2741 FENTON MI

03/31/2024 Withdrawal Debit Card VISA CHECK CARD -660.00 24,227.54
Quinstreet 650-578-7731 CA

03/31/2024 Withdrawal Debit Card VISA CHECK CARD -884.58 23,342.96
EXPEDIA 72793921746672 EXPEDIA.COM WA

03/31/2024 Deposit Dividend 0.87 23,343.83

Annual Percentage Yield Earned 0.060% from 01/02/2024

through 03/31/2024
03/31/2024 Ending Balance 23,343.83

202 Withdrawal(s) = -204,687.04 35 Deposit(s) = 228,123.13

Draft Summary

Number Date Amount Number Date Amount Number Date Amount
52 03/04 1,522.20 1062* 03/15 700.00 1076 03/25 710.00
103* 03/05 2,527.51 1065* 03/22 2,500.00 1077 03/25 1,455.00
103* 03/18 598.21 1067* 03/25 3,000.00 1078 03/25 217.00
1028* 03/21 1,350.00 1068 03/26 658.00 1083* 03/23 10,000.00
1032* 03/06 1,000.00 1069 03/27 600.00 1084 03/29 875.00
1053* 03/06 1,450.00 1070 03/29 550.00 1085 03/29 1,271.00
1054 03/21 10,662.48 1071 03/26 525.00 1087* 03/29 682.00
1056* 03/22 4,000.00 1073* 03/26 700.00 1088 03/29 620.00
1059* 03/11 700.00 1074 03/22 830.00
1060 03/18 828.54 1075 03/22 913.00

* next to number indicates skipped numbers

Total For This Period Total Year-To-Date
Total Overdraft Fees 0.00 105.00
Total Returned Item Fees 135.00 315.00

Toei oh] 1-7 Ws (eB =U Sassen el ane)

Date Transaction Description Withdrawal Deposit Balance

03/01/2024 Balance Forward 0.00

03/30/2024 Deposit Transfer From Share 0050 2,500.00 2,500.00
Payroll

03/30/2024 Withdrawal Transfer To Share 0050 -2,500.00 0.00
Home Banking[1337361 1]

03/31/2024 Ending Balance 0.00

1 Withdrawal(s) = -2,500.00 1 Deposit(s) = 2,500.00
WEST GSSN vp emica

Dividends Paid 0.90
Total Interest Paid 0.00

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